                  Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 1 of 9



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11

12
                                     UNITED STATES DISTRICT COURT
13                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
14

15   PAM LA FOSSE and SHARON MANIER,                      )   CASE NO. 19-CV-06570-RS
     individually and on behalf of all others similarly   )
16
     situated,                                            )   DEFENDANT SANDERSON FARMS,
17                                                        )   INC.’S NOTICE OF MOTION AND
                     Plaintiffs,                          )   MOTION TO DISMISS THE SECOND
18          vs.                                           )   AMENDED COMPLAINT IN PART;
                                                          )   MEMORANDUM OF POINTS AND
19   SANDERSON FARMS, INC.,                               )   AUTHORITIES IN SUPPORT
20                                                        )
                     Defendant.                           )   Judge: Honorable Richard Seeborg
21                                                        )   Hearing Date: September 17, 2020
                                                          )   Time: 1:30 p.m.
22                                                        )   Location: Courtroom 3, 17th Floor,
                                                          )             450 Golden Gate Avenue,
23                                                        )             San Francisco, CA 94102
24                                                        )
                                                          )
25

26

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      SANDERSON FARMS, INC.’S NOTICE OF MOT. AND                                CASE NO. 3:19-CV-06570 (RS)
      MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 2 of 9



 1
                             NOTICE OF MOTION AND MOTION TO DISMISS
 2
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3
            PLEASE TAKE NOTICE that on the 17th day of September 2020, at 1:30 p.m. or as soon
 4
     thereafter as this motion may be heard by the Honorable Richard Seeborg in Courtroom 3, 17th Floor, 450
 5
     Golden Gate Avenue, San Francisco, CA 94102, Defendant Sanderson Farms, Inc. will, and hereby does,
 6
     move the Court for an order dismissing in part the Second Amended Complaint of Plaintiffs Pam La Fosse
 7
     and Sharon Manier pursuant to Federal Rule of Civil Procedure 12. The Motion is based on this Notice
 8
     of Motion and Motion, the accompanying Memorandum of Points and Authorities, the entire file in this
 9
     matter, and the arguments of counsel.
10

11   DATED: August 6, 2020                             Respectfully submitted,
12                                                     /s/ Michael A. Glick
13                                                     Michael A. Glick

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      MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 3 of 9



 1                                               INTRODUCTION

 2          Following the Court’s order granting Sanderson’s Motion to Dismiss the First Amended

 3   Complaint, Plaintiffs in this putative class action have conceded that this Court only has jurisdiction over

 4   claims asserted by the remaining California Plaintiffs and do not seek to re-plead the out-of-state claims

 5   previously asserted by out-of-state consumers. Plaintiffs have also jettisoned the federal Magnuson-Moss

 6   Warranty Act claim that the Court dismissed from the First Amended Complaint. Instead, their Second

 7   Amended Complaint is limited to six California state law claims asserted by two California Plaintiffs

 8   (purportedly on behalf of a class of California purchasers of Sanderson’s products). Among these claims

 9   is a new implied warranty of merchantability claim brought under California’s Uniform Commercial

10   Code. Plaintiffs first raised the prospect of this claim in their opposition to Sanderson’s last motion to

11   dismiss, and although the claim was not properly before the Court at the time (because it was improperly

12   asserted only as part of Plaintiffs’ opposition to Sanderson’s motion), Sanderson explained in its reply

13   why such claim fails as a matter of law. Simply put, to state a viable claim for breach of implied warranty

14   of merchantability under California law, Plaintiffs must plausibly allege that Sanderson’s chicken was

15   inedible or unsafe for human consumption. Plaintiffs make no such allegations and they cannot. Instead,

16   they press the same legally flawed theory they previewed in the last round of briefing, attempting to take

17   advantage of an inapt and seldom-used sub-provision of the Uniform Commercial Code by alleging

18   Sanderson’s advertisements somehow constitute an actionable “contract description” that supports an

19   implied warranty theory. As Sanderson has explained, this is an improper attempt to bootstrap an express

20   warranty claim into a separate implied warranty claim. Sanderson therefore brings this limited motion to

21   dismiss Plaintiffs’ legally deficient implied warranty of merchantability claim.

22                                                   BACKGROUND

23          The Court is familiar with the background and allegations in this case, which Sanderson has set

24   forth in its two prior motions to dismiss. See ECF No. 25 at 2-3; ECF No. 50 at 2. After the Court’s

25   dismissal of Plaintiffs’ original Complaint in February, ECF No. 37, Plaintiffs filed a First Amended

26   Complaint (“FAC”) in March, ECF No. 40, asserting a host of out-of-state claims on behalf of various

27   out-of-state consumers as well as a claim under the federal Magnuson-Moss Warranty Act (“MMWA”).

28   Sanderson moved to dismiss that amended complaint, and Plaintiffs opposed, relying heavily on proposed
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND         1                          CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 4 of 9



 1   future amendments that they believed would cure the issues identified in Sanderson’s motion. See

 2   generally ECF No. 58. Among them, Plaintiffs proposed amending the FAC to add state law implied

 3   warranty of merchantability claims under several states’ laws (including California) in order to resuscitate

 4   their flawed MMWA claim. See id. at 14-19. Sanderson’s reply brief in turn explained in detail why the

 5   proposed California implied warranty of merchantability claim would fail as a matter of law. ECF No. 61

 6   at 5-9. Nevertheless, following the completion of briefing and while the motion to dismiss was pending,

 7   Plaintiffs formally sought leave to file a second amended complaint asserting the implied warranty claims

 8   (among others). See ECF No. 63 at 3, 5.

 9          On July 2, the Court granted Sanderson’s motion to dismiss the FAC, finding the federal MMWA

10   claim was not viable and declining to exercise pendent personal jurisdiction over the claims of the out-of-

11   state Plaintiffs. ECF No. 64. In doing so, the Court declined to consider the prospective implied warranty

12   claims identified in Plaintiffs’ opposition, citing the “axiom[]” that a complaint “may not be amended by

13   briefs in opposition to a motion to dismiss.” Id. at 7 (citation omitted). While the Court granted Plaintiffs

14   leave to amend, it noted their earlier request for leave to file a second amended complaint, denied

15   Plaintiffs’ “request to file that specific document,” and granted leave only “to file a new second amended

16   complaint limited to addressing the defects identified in this order.” Id. at 9.

17          On July 23, the two remaining California Plaintiffs, Pam La Fosse and Sharon Manier, filed a

18   narrowed Second Amended Complaint (“SAC”). ECF No. 65. The SAC no longer includes an MMWA

19   claim or claims or allegations by out-of-state plaintiffs, and only asserts claims on behalf of a California

20   class. See id. ¶ 148. Otherwise, the SAC’s allegations and claims largely track those in the FAC with one

21   exception: the remaining Plaintiffs now formally assert a claim for breach of the implied warranty of

22   merchantability under California’s Uniform Commercial Code (“UCC”) (Count 5). Id. ¶¶ 198-211. The

23   claim mirrors the one described in Plaintiffs’ opposition to Sanderson’s last motion to dismiss, see ECF

24   No. 58 at 14-17, and which Plaintiffs set forth in their earlier proposed second amended complaint, see

25   ECF No. 63-2 ¶¶ 303-16. Sanderson now moves to dismiss the new implied warranty claim.

26                                           STANDARD OF REVIEW

27          A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the claims alleged in a

28   complaint. See Parks Sch. of Bus., Inc. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995). Dismissal
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND          2                          CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
                Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 5 of 9



 1   under Rule 12(b)(6) may be based on either the “lack of a cognizable legal theory” or on “the absence of

 2   sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d

 3   696, 699 (9th Cir. 1990).

 4                                                   ARGUMENT

 5          Plaintiffs fail to state a claim for breach of the implied warranty of merchantability under

 6   California law because they have not alleged that Sanderson chicken was inedible or unfit for

 7   consumption, nor could they. Under California law, whether a product is merchantable “does not ‘impose

 8   a general requirement that goods precisely fulfill the expectation of the buyer. Instead, it provides for a

 9   minimum level of quality.’” Bohac v. Gen. Mills, Inc., 2014 WL 1266848, *9-10 (N.D. Cal. Mar. 26,

10   2014) (citation omitted).     Thus, “[a] plaintiff who claims a breach of the implied warranty of

11   merchantability must show that the product ‘did not possess even the most basic degree of fitness for

12   ordinary use.’” Engurasoff v. Coca-Cola Co., 2014 WL 4145409, *5 (N.D. Cal. Aug. 21, 2014) (citation

13   omitted). To breach the implied warranty of merchantability in the context of food, Plaintiffs must allege

14   the food was inedible or otherwise not safe for human consumption. See, e.g., Leonhart v. Nature’s Path

15   Foods, Inc., 2014 WL 6657809, *7 (N.D. Cal. Nov. 21, 2014) (citing, inter alia, Viggiano v. Hansen Nat.

16   Corp., 944 F. Supp. 2d 877, 896 (C.D. Cal. 2013)). Accordingly, courts routinely dismiss implied

17   warranty of merchantability claims where plaintiffs have failed to allege they purchased such a food

18   product. See, e.g.:

19          •   Backus v. Biscomerica Corp., 2017 WL 1133406, *4-5 (N.D. Cal. Mar. 27, 2017) (dismissing
20              implied warranty claim based on the presence of partially hydrogenated oil (“PHO”) in cookies
                where “the FDA did not determine that products that contain PHO are unfit for human
21              consumption”).

22          •   Leonhart, 2014 WL 6657809, at *7 (dismissing implied warranty claims where plaintiff did
                “not allege that the [cereals she purchased] were unfit for consumption”).
23
            •   Engurasoff, 2014 WL 4145409, at *5 (dismissing implied warranty claim challenging Coca-
24
                Cola ingredients because complaint contained no “allegation regarding the product’s basic
25              degree of fitness for ordinary use”).

26          •   Bohac, 2014 WL 1266848, at *9-10 (dismissing implied warranty claims by purchaser of
                granola bar who did not “allege[] that the products were not edible or contaminated”);
27
            •   Viggiano, 944 F. Supp. 2d at 895-97 (dismissing implied warranty of merchantability claim
28              where plaintiff alleged defendant “breached implied warranties by representing that the drink
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND       3                         CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 6 of 9



                is a ‘premium’ diet soda, containing ‘all natural flavors’” but did “not allege any facts
 1              suggesting that the soda is not merchantable or fit for use as a diet soft drink”).
 2
            Here, Plaintiffs have not alleged that the Sanderson chicken they purchased was unfit for its
 3
     ordinary use (i.e., to be eaten) by being inedible or otherwise unsafe for human consumption. To the
 4
     contrary, Plaintiffs allege they purchased Sanderson chicken without incident on regular bases for years.
 5
     See SAC ¶ 17 (alleging Ms. Manier purchased Sanderson chicken “every month for more than five years”);
 6
     id. ¶ 31 (alleging Ms. La Fosse purchased Sanderson chicken approximately eight times over a three-year
 7
     period). Plaintiffs make no allegation that the chicken ever made them, their family members, or anyone
 8
     else sick, nor do they contend such chicken was inedible or unsafe.
 9
            Rather than implausibly contending that the chicken they purchased and consumed repeatedly for
10
     years was inedible, Plaintiffs instead concoct a theory that Sanderson’s chicken was unmerchantable under
11
     a scarcely used UCC sub-provision—arguing that the product did not “pass without objection in the trade
12
     under the contract description.” See SAC ¶ 199 (quoting Cal. Com. Code § 2314(2)(a)). According to
13
     Plaintiffs, Sanderson’s product is not just chicken, but “100% Natural” chicken, because “[t]he ‘contract
14
     description’ in this case includes the promises in Sanderson’s advertising and website that the chicken is
15
     . . . ‘100% Natural.’” Id. ¶ 200. And because, in their view, Sanderson’s chicken does not meet that
16
     “100% Natural” “contract description,” they contend Sanderson has breached not only express warranties
17
     based on the “100% Natural” statement but also the implied warranty of merchantability.
18
            Plaintiffs’ theory confuses express warranties and implied warranties, and cannot pass muster. As
19
     a fundamental matter, Plaintiffs’ argument that express statements made in Sanderson’s advertising
20
     somehow constitute part of the “contract description” and therefore influence the available implied
21
     warranties would turn warranty law on its head. It is well-settled in California that “[u]nlike express
22
     warranties, ‘liability for an implied warranty does not depend upon any specific conduct or promise on
23
     the defendant’s part, but instead turns upon whether the product is merchantable under the code.’” Bohac,
24
     2014 WL 1266848, at *9 (brackets in original omitted) (quoting Hauter v. Zogarts, 534 P.2d 377 (Cal.
25
     1975)); see also Am. Suzuki Motor Corp. v. Superior Court, 44 Cal. Rptr. 2d 526, 529 (Ct. App. 1995)
26
     (“Unlike express warranties, which are basically contractual in nature, the implied warranty of
27
     merchantability arises by operation of law.”). Plaintiffs’ allegations regarding the various statements in
28
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND        4                         CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
                Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 7 of 9



 1   Sanderson’s advertising are thus “more suited to a breach of express warranty claim, as they are specific

 2   representations made by the product manufacturer rather than characteristics that affect the product’s

 3   merchantability.” Viggiano, 944 F. Supp. 2d at 896-97 (rejecting implied warranty claim based on

 4   representation that drink was “premium” and contained “all natural flavors”); see also Cal. Com. Code

 5   § 2313(1)(a) (defining express warranty as an “affirmation of fact or promise made by the seller to the

 6   buyer which relates to the goods and becomes part of the basis of the bargain”); Daugherty v. Am. Honda

 7   Motor Co., 51 Cal. Rptr. 3d 118, 122 (Ct. App. 2006) (“A[n] [express] warranty is a contractual promise

 8   from the seller that the goods conform to the promise.”). Indeed, under Plaintiffs’ view, the two types of

 9   warranties would be primarily premised on the exact same express statements—a result that makes little

10   sense and which finds no home in the caselaw. See, e.g., Steele v. Bell-Carter Foods, Inc., 2019 WL

11   312146, *5 (Cal. Ct. App. Jan. 24, 2019) (“[E]xpress warranties are substantively different from implied

12   warranties because of their contractual nature.”).

13          Furthermore, even if Plaintiffs could manufacture an implied warranty of merchantability claim

14   based on express statements made by Sanderson, they do not (and cannot) offer any basis to support the

15   conclusory assertion that Sanderson’s advertising included “promises” that became part of the “contract

16   description,” thereby creating an implied warranty, see SAC ¶ 200. Plaintiffs have previously pointed to

17   the thinly reasoned opinion in Arabian v. Organic Candy Factory, 2018 WL 1406608 (C.D. Cal. Mar. 19,

18   2018), but it affords Plaintiffs no help. The implied warranty claim in that case was based on statements

19   made on the product packaging that the organic gummy bears contained “Real Ingredients” when they

20   allegedly did not. Id. at *8. But Plaintiffs here concede they are not challenging Sanderson’s label or

21   packaging. SAC ¶ 44 (“Plaintiffs challenge Sanderson’s advertising, not the Products’ labels.”), ¶ 51 n.5

22   (“Plaintiffs challenge the advertising of these products, not the product labels . . . .”). And for good reason:

23   as this Court has recognized in this and a related case, poultry labeling falls squarely within the province

24   of the U.S. Department of Agriculture and any claims based on the label would be preempted by federal

25   law. See ECF No. 37 at 10 (“[C]laims for false advertising are not preempted, [but] claims for false

26   labelling are.” (emphases omitted)); Organic Consumers Assoc. v. Sanderson Farms, Inc., 84 F. Supp. 3d

27   1005, 1013 n.2 (N.D. Cal. 2018) (“any challenge to [Sanderson’s] ‘100% Natural’ labels is expressly

28   preempted by USDA’s guidelines”).
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND           5                           CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 8 of 9



 1          And even assuming the Arabian court were correct that statements on a product label could

 2   constitute a “contract description” under Section 2314(2)(a) of the California UCC, there is no basis to

 3   extend the “contract description” to include advertisements beyond the label. Indeed, the comment to the

 4   UCC provision that Plaintiffs rely upon makes clear that “[g]oods delivered under an agreement made by

 5   a merchant in a given line of trade must be of a quality comparable to that generally acceptable in that

 6   line of trade under the description or other designation of the goods used in the agreement.” Cal. Com.

 7   Code § 2314, UCC cmt. 2 (emphases added). Here, Plaintiffs have no agreement with Sanderson at all,

 8   as their own allegations confirm, see SAC ¶¶ 18, 31, nor can they plausibly allege that Sanderson’s

 9   consumer advertising was part of Sanderson’s contracts with its direct customers like Wal-Mart and

10   Albertson’s (the entities from whom Plaintiffs allege they actually purchased the chicken). The Court

11   should reject Plaintiffs’ tortured reading of this UCC provision.1

12          At bottom, Plaintiffs’ implied warranty of merchantability claim is nothing more than a defective

13   express warranty claim masquerading under an incorrect moniker, and thus it must be dismissed as a

14   matter of law.

15                                                   CONCLUSION

16          For the foregoing reasons, Sanderson respectfully requests that the Court dismiss Plaintiffs’

17   implied warranty of merchantability claim with prejudice.

18

19

20

21

22   1
       The Arabian court also recognized a separate theory of the breach of implied warranty of merchantability
23   under a separate sub-provision of Section 2314 where a plaintiff alleges that the product does not “conform
     to the promises or affirmations of fact made on the container or label if any.” 2018 WL 1406608, at *8
24   (quoting Cal. Com. Code § 2314(2)(f)). However, that theory is likewise not available to Plaintiffs here,
     as they recognize in disclaiming any challenge to Sanderson’s product labels. See, e.g., SAC ¶ 44.
25   Colgate v. JUUL Labs, Inc., 402 F. Supp. 3d 728 (N.D. Cal. 2019)—the only other case Plaintiffs
     identified in the last round of briefing to support their California implied warranty argument—is similarly
26
     unhelpful to them. There, the court merely acknowledged a prior order in which it held the plaintiffs had
27   pled an implied warranty claim by alleging JUUL’s e-cigarettes failed to conform with representations on
     the product label. See id. at 756. Plaintiffs here offer no such labeling allegation (nor could they without
28   their claims being preempted).
     SANDERSON FARMS, INC.’S NOTICE OF MOT. AND         6                          CASE NO. 3:19-CV-06570 (RS)
     MOT. TO DISMISS THE SECOND AM. COMPL. IN PART
               Case 3:19-cv-06570-RS Document 67 Filed 08/06/20 Page 9 of 9



     DATED: August 6, 2020                               Respectfully submitted,
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